    Case 4:19-cv-00466-SDJ-KPJ Document 42 Filed 08/03/20 Page 1 of 1 PageID #: 160




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

       KARY LYMAN,
                                                      §
                                                      §
              Plaintiff,                              §
                                                      §
       v.                                             § Civil Action No.: 4:19-cv-466-SDJ-KPJ
                                                      §
       KOHL’S DEPARTMENT STORES,                      §
       INC.,                                          §
                                                      §
              Defendant.                              §

                                                ORDER

                   This matter is presently set for a show cause hearing before the undersigned on
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     August 11, 2020. See Dkt. 40.

            IT IS HEREBY ORDERED that the Parties’ show cause hearing is hereby

     CANCELLED.

            So ORDERED and SIGNED this 3rd day of August, 2020.




                                                 ____________________________________
                                                 KIMBERLY C. PRIEST JOHNSON
                                                 UNITED STATES MAGISTRATE JUDGE
